                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )            No. 3:11-00194
                                                 )            JUDGE CAMPBELL
STERLING RENEVA RIVERS                           )


                                              ORDER

       The Court held a status conference in this case on July 31, 2013. At the status

conference, the parties agreed that the Defendant’s Petition Requesting Leave to File Pleading

Requesting Discovery (Docket No. 1389) is MOOT.

       The Government indicated that the Marshal Service has expressed concern about their

ability to transport John Edwards, who is incarcerated in Texas, to this district for the hearing on

August 15, 2013, and suggested continuing the hearing until August 22, 2013. The Defendant

had no objection. Accordingly, the hearing set for August 15, 2013 to resolve the pending

motions regarding Mr. Edwards’ potential trial testimony is CONTINUED until August 22,

2013, at 9:00 a.m. The Marshal Service is ordered to transport Mr. Edwards to this Court for the

August 22, 2013 hearing.

       The hearing to consider motions to quash from all other potential witnesses remains

scheduled for August 15, 2013, at 9:00 a.m.

       The Court orders the Federal Public Defender’s Office to designate a member of the

Federal Defender’s Panel to serve as counsel for Mr. Edwards in connection with this case. 18

U.S.C. § 3006A.




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       AUSA Brent Hannafan is excused from attendance at the August 15, 2013 and August

22, 2013 hearings. AUSA Braden Boucek will represent the Government at those hearings.

       It is so ORDERED.



                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




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